Case 3:16-cv-01735-D Document 402-5 Filed 02/18/19   Page 1 of 3 PageID 10630




                      Exhibit 5
         Case 3:16-cv-01735-D Document 402-5 Filed 02/18/19                            Page 2 of 3 PageID 10631




Taylor Law Office - SEC vs. Faulkner
Thomas Taylor                                                                                      Invoice #: 92603
245 West 18th Street                                                                            Invoice Date: 01/02/2019
                                                                                                   Due Date: 01/02/2019
                                                                                                    Client ID: 42800200
Houston, TX 77008

EIN: XX-XXXXXXX                                                                                                $19,069.25
Forensic accounting professional services rendered October 22, 2018 through
December 31, 2018 in connection with Breitling/Faulkner Receivership


         Staff        Date             Hours\Qty   Comments                                                 Amount
         Cheek        10/22/2018        1.00       Instructions to staff, emails, doc requests, set up             $350.00
                                                   portal
         Cheek        10/23/2018        0.50       Set up portal questions, follow up emails                       $237.50
         Cheek        10/24/2018        0.70       internal meetings and call with Kelly, complete                 $332.50
                                                   portal set up and filing
         Cheek        10/29/2018        0.30       call and email with Tom Taylor                                  $105.00
         Cheek        11/01/2018        0.20       Call with Tom and follow up                                       $70.00
         Cheek        11/05/2018        1.90       Call with Tom, Call with Ronny, onboard staff                   $665.00
         Boatcallie   11/05/2018        0.50       Research for legal filings on Pacer.                            $137.50
         Boatcallie   11/05/2018        1.17       Initial meeting with Danielle to discuss case.                  $321.75
                                                   Initial phone call with IRS agent to coordinate
                                                   work to be performed.
         Cheek        11/06/2018        2.40       Miram meeting, follow up with Chris, emails,                    $840.00
                                                   court filing reading
         Boatcallie   11/06/2018        5.92       Setting up Pacer account for access to legal                  $1,628.00
                                                   filings, searches within Pacer for specific legal
                                                   filings, review of 1st Amended complaint, review
                                                   of production
         Boatcallie   11/06/2018        1.33       Meeting with Danielle and Miriam discussing                     $365.75
                                                   case.
         Cheek        11/07/2018        1.20       review filings                                                  $420.00
         Boatcallie   11/07/2018        5.70       Review of Legal Filings, Review of BECC filings               $1,567.50
                                                   with SEC, Review of Production
         Boatcallie   11/08/2018        1.50       Review of Production                                            $412.50
         Cheek        11/13/2018        0.70       Call with Ronnie                                                $245.00
         Boatcallie   11/13/2018        1.00       Call with IRS agent, and discussion with                        $275.00
                                                   Danielle.
         Cheek        11/21/2018        0.30       Status on PBCs and next steps                                   $105.00
         Cheek        11/28/2018        0.50       status matters and call                                         $175.00
         Boatcallie   11/28/2018        1.00       Review of production.                                           $275.00
         Cheek        11/29/2018        0.50       Status and review                                               $175.00
         Boatcallie   11/29/2018        5.00       Review of production, Discussions with Danielle,              $1,375.00
                                                   Data analysis.
         Boatcallie   11/30/2018        3.20       Analyzing production data.                                      $880.00
       Case 3:16-cv-01735-D Document 402-5 Filed 02/18/19                               Page 3 of 3 PageID 10632
Pannell Kerr Forster of Texas, P.C.                                                                     Page 2 of 2

        Boatcallie   12/03/2018     7.50           Review of production and research into                 $2,062.50
                                                   investors.
        Cheek        12/04/2018     1.00           Status and follow up email, call with client             $350.00
        Boatcallie   12/04/2018     2.00           Review of production, discussion with Danielle.          $550.00
        Cheek        12/05/2018     0.60           Review CB work and email                                 $210.00
        Boatcallie   12/05/2018     3.00           Discussion with Danielle, Review of production.          $825.00
        Boatcallie   12/06/2018     1.00           Discussion with Danielle, Review of production.          $275.00
        Boatcallie   12/07/2018     3.20           Review of production.                                    $880.00
        Cheek        12/10/2018     0.70           call with Kelly and status                               $245.00
        Boatcallie   12/10/2018     6.70           Review of legal filings, offering memoranda, and       $1,842.50
                                                   other production.
        Cheek        12/19/2018     1.00           Internal status and client call, emails                  $350.00
        Boatcallie   12/19/2018     0.20           Phone call with attorney and Danielle.                     $68.75
        Cheek        12/20/2018     0.50           Meeting with Nikki                                       $175.00
        Boatcallie   12/20/2018     0.50           Meeting with Danielle & tax department to                $137.50
                                                   discuss client.
        Cheek        12/21/2018     0.20           client communications                                      $70.00
        Cheek        12/31/2018     0.20           Status call                                                $70.00




                                                                                Amount Due             $19,069.25




INVOICES ARE DUE AND PAYABLE UPON RECEIPT-Invoices are considered past due 30 days after the
due date. A late fee of 18% per annum will be assessed on all past due invoices.
Please remit payment by ACH or Wire Transfer to:
Amegy Bank of Texas              ABA(Routing#):113011258
1717 West Loop South            Acct# 51301594
Houston, TX 77027-3048          SWIFT:ZFNBUS55 (Swift Bank Name: ZB, N.A.)
If paying by check, send to the address at the top of this page. REMINDER: Credit Card payments may
incur a convenience fee. Please contact our accounting department.
Any questions regarding invoice amounts should be directed to the engagement Director within 10 days of
invoice date.
